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             EXHIBIT 16
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IN THE GRAND COURT OF THE CAYMAN ISLANDS
FINANCIAL SERVICES DIVISION
                                                          CAUSE NO FSD 4 OF 2020 (MRHJ)


BETWEEN
                                      ROBERT SEIDEN,
     . IN HIS CAPACITY AS TEMPORARY RECEIVER OF LINK MOTION INC.
                                                                                   PLAINTIFF

AND
                                    LINK MOTION INC.
                                                                                 DEFENDANT

Mr. Mark Russell of KSG for the Plaintiff
Defendant not appearing, not represented
Heard on the 3 February 2020

                                           RULING

1.     This is an application brought by Robert W. Seiden, in his capacity as temporary receiver
       ("the Receiver") of Link Motion Inc. ("the Company"), for recognition ofhis appointment
       under an order ("the Receivership Order") of the United States District Court for the
       Southern District of New York ("the US Court") in aid of the US Court proceeding in
       which the Receivership Order was made ("the US Proceeding"). The defendant, Link
       Motion, is a Cayman Islands exempted company headquartered in the People's Republic
       of China ("PRC") carrying on a multinational business in the development, licensing and
       sale of technology and services in the smart car and smart ride industry. Up until January
       2019, the Company was listed on the New York Stock Exchange ("NYSE") and had
       outstanding, to that date, nearly 100 million American Depositary Shares ("ADS"), each
      representing 5 Class A common shares in the capital of the Company. The Company also
      has commercial offices in the United States and Hong Kong.

The US proceeding


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2.       In his affidavit sworn on the 18 January 2020 in support of his application for recognition
         by this Court, the Receiver sets out the relevant background to his appointment in the US
         Proceeding.


3.       A Verified Shareholder Derivative Complaint was filed by a Link Motion shareholder,
         Wayne Baliga, against three key directors and officers involved in the Company's business
         and resident in the PRC (the "Individual Defendants") in which Mr. Baliga alleged, inter
         alia, that the Individual Defendants were engaged in self-dealing, having transferred
         valuable Company assets to entities controlled by insiders for no, minimal or unknown
         consideration. He also alleged that they had mismanaged the Company, allowing the
         Company's shares to be delisted from the NYSE by failing to file required financial
         information for publicly-traded companies and precipitating the closure of offices in
         Dallas, Texas and China as well as a formerly profitable subsidiary in Finland. 1


4.       In response to the Complaint, the US appointed a Receiver over the Company and granted
         broad injunctive relief against certain individuals. The Receiver states, in his affidavit, that
         while he has taken steps in Hong Kong and the PRC to fulfil his duties and prevent the
         dissipation of the Company's assets, the Individual Defendants have ignored, obstructed
         and frustrated the receivership. 2

This Application

5.       The Receiver states further that the Company has failed to pay its corporate filings fee due
         in this jurisdiction for at least a year, and that a further failure to pay these fees when they
         fall due in January 2020 may result in the striking off and dissolution of the Company.
         Over the same period, the Company's registered office, Maples Corporate Services
         Limited, has resigned.




' Para 8 et seq
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  Para 27 to 41
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6.     He seeks the recognition of his appointment by this Court to allow him to protect the
       interests of the Company pending determination of the serious claims in the US
       Proceeding.


7.     In his submissions on behalf of the Receiver, Mr. Russell submits that the next annual fee
       will be due by 31 January 2020 and there is no reason to believe that the Individual
       Defendants will properly attend to the payment. Failure to pay the fees or maintain a
       registered office raises a significant risk that the Company will be struck-off the register
       and dissolved, putting its status and title to its assets in jeopardy and that, without
       recognised legal status in the Cayman Islands, the Receiver will not have the required
       authority to intervene and prevent the administrative strike-off.

The Law

8.     That the Grand Court has an inherent power to recognize a Receiver appointed by a Foreign
       Court was asserted by the Court of Appeal in the matter of Kilderkin v Player (1984-85)
       CILR 63 which cited the decision of Schemmer v Property Resources Ltd. [1975] Ch 273
       with approval. The Court held that the jurisdiction falls to be exercised where the Court is
       satisfied that there is a sufficient connection between the defendant and the jurisdiction in
       which the foreign receiver was appointed.


9.     In Kilderkin, Carey JA adopted the four tests set out in Schemmer to establish whether
       such a sufficient connection exists which he summarised as follows:


       1. Has the company in respect of whose assets the receiver and manager has been
          appointed been made a defendant in the action in the foreign court?
       2. Has the company in respect of whose assets the receiver and manager has been
          appointed, been incorporated in the country which appointed the receiver and manager?
       3. Would the comts of the country of incorporation recognise a foreign appointed
          receiver?
      4. Has the company carried on business in [the jurisdiction of the appointment] or is the
          seat of its central management and control located there?

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10.       It is plain from the Schemmer judgment that not all four questions need be answered in the
           affirmative. On my reading of the judgment, incorporation in the jurisdiction of the Court
           appointing the Receiver or submission by the company to the jurisdiction of the foreign
           Court appointing the Receiver would suffice to establish a sufficient connection to ground
          the Court's jurisdiction to recognise a Receiver's appointment.


11.       Mr. Russell submits that the recent decision of Smellie CJ In re Silk Road Funds and Silk
          Road M3 Fund FSD 234 of 2017 (Unrep.) suggests that the Court, when considering an
          application for recognition, should also consider,
          1.      the reasons or necessity for seeking recognition,
          ii.     whether the receiver is seeking to use the Court to do something it could not do in
                  the appointing jurisdiction,
          iii.    whether the receiver is seeking recognition of any powers that could or would not
                  be granted under Cayman law and
          1v.     whether recognition would raise any public policy concems. 3

DECISION

12.       In granting the order for recognition, I considered that the test of "sufficient connection"
          was met as,
          i.      the Company was a defendant in the US proceedings, even though a nominal
                  defendant;


          ii.     while it did not carry on business there, the Company had commercial offices in
                  the United States and was listed on the NYSE.


                  Mr. Russell submits, and I accept, that by listing American depositary shares on the
                  NYSE and opening up its stock for trading by the general public, the Company had,
                  by virtue of its status as a listed company on an American stock exchange, certain



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                 filing obligations with the US Securities and Exchange Commission and was
                 subject to certain US securities laws. By listing its shares on the NYSE and
                 subjecting itself to US law, the Company opened itself up to the prospect of being
                 sued for violations of US securities laws, just as Mr. Baliga has done in the US
                 Proceeding. Accordingly, being a listed company on the NYSE creates a strong
                 nexus between the US and the Company that weighs in favour of recognising the
                 US receivership.


        iii.     That the Company is a Caymanian company would ordinarily weigh against the
                 recognition of a foreign receivership order, but the Company has submitted to the
                 jurisdiction of the US Court and withdrawn its opposition to the appointment of the
                 temporary Receiver which supports, in my view, a finding of a "sufficient
                 connection" between the Company and the jurisdiction of the Court appointing the
                 Receiver to justify the recognition of the Receiver's appointment. 4 The fact that
                 the Company does not trade in Cayman, has no assets within the jurisdiction and
                 no creditors here whose interests might be affected are factors that fortify my
                 conclusion that it is appropriate to exercise the Court's jurisdiction in this case.


13.     In Schemmer, the Court asked the question whether the court of the country where the
        company was incorporated would recognise the foreign Receiver. In that case, the learned
        judge was considering an application to recognise a Receiver appointed by a US Court who
        sought to take control of assets in England which belonged to a company incorporated in
        the Bahamas, a company that was not a defendant to the US proceedings and had never
        carried on business there. It was in that context that he suggested that one of the factors the
        English Court should consider is whether the courts where the company was incorporated
        would recognise a receiver appointed by US Court.


14.     In In re Silk Road, the test appears to be framed in terms of reciprocity, with the question
        being whether the foreign Court which appoints the Receiver would recognise a Receiver


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 "Stipulation of non-opposition to preliminary injunction and Consent Order to extend time to .... respond to the
Complaint,,: vage53 of 169inthe exhibit tothe .Receiver's affidavit.
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        appointed by this Court. There is no evidence before me that the US Court would do so
        but, in the absence of any clear evidence that it would not, I hold that comity requires that
        the appointment of a Receiver by a foreign Court of equivalent jurisdiction, on evidence
        that would have justified the appointment of a Receiver by this Court, be recognized,
        provided that the other conditions identified by Smellie CJ in In re Silk Road were satisfied.


15.     One of those conditions is that the powers conferred upon the foreign Receiver be powers
        capable of being granted under Cayman Islands law. In this case, the powers conferred
        upon the Receiver are the same as could be granted by this Court, save for the power to
        appoint Directors which will be excluded from the Recognition Order.


16.     With respect to the question of the reason for recognition, which was one of the factors
        considered by Smellie CJ in In re Silk Road, it is in the first instance, to ensure that all fees
        are paid and that the Company maintains a registered office. The fact is that the Individual
        Defendants against whom the allegations of misfeasance have been made have abandoned
        the Company and put it at risk of being struck off administratively and dissolved, a
        consequence which would, Mr. Russell contends, have a serious adverse impact on the
        receivership, the US Proceeding and the efforts to vindicate the wrongs alleged in the
        Complaint. Recognising the Receiver's appointment would, inter alia, give him the
        standing to engage or direct a Cayman registered office provider for the Company, to pay
        the necessary fees and costs directly and otherwise act on behalf of the Company.


17.     Although not one of the additional factors set out in the Chief Justice's decision in In re
        Silk Road, I have considered whether the application for recognition is ultra vires as the
        Receiver is not specifically authorised to seek recognition by the order appointing him, in
        contrast to the Receiver in In re Silk Road. I consider, however, that such authorisation
        falls to be implied as his Appointment authorises him to do, among other things, any act to
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        protect the status quo of the Company          and to appoint agents of the Company.           The




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        Receiver's appointment would have to be recognised for the Appointment to be given full
        effect.


18.     The final issue for consideration is whether recognising the Receiver would be consistent
        with public policy. The facts of this case are readily distinguishable from In re Philadelphia
        AlternativeAsset Fund Limited (2006) CILR Note 7, where the Court refused to recognise
        a foreign Receiver in winding up proceedings commenced in the United States on the
        ground that the petitioner shareholders in Cayman had a legitimate expectation that a
        company which was domiciled in Cayman would be wound up in Cayman. There are no
        competing claims in this jurisdiction.


19.     As a matter of public policy, this Court will not recognise foreign proceedings imdertaken
        to enforce a foreign penal statute: Kalley & Ors v Manus & Ors (1999) CILR 566. While
        some of the allegations of wrongdoing in Mr. Baliga' s Complaint are based on US
        securities laws, the claims are made by a private citizen on private rights of action and do
        not, therefore, offend that principle.


20.     For these reasons the Order is made recognising the Receiver in tenns of the Draft Order
        which is hereby approved.

DATED 4 FEBRUARY 2020




RAMSAY-HALE J




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